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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA


 DOROTHY NAIRNE, et al.,

                        Plaintiffs,

                        v.
                                                          Case No. 3:22-cv-178-SDD-SDJ
 R. KYLE ARDOIN, in his official capacity as
 Secretary of State of Louisiana,

                        Defendant.


              CONSENT MOTION TO APPEAR BY VIDEOCONFERENCE

       The United States respectfully requests leave to appear by videoconference at the

February 21, 2024, scheduling conference in the above-captioned case. The United States

intervened in this matter to defend the constitutionality of Section 2 of the Voting Rights Act, 52

U.S.C. § 10301. U.S. Notice of Intervention, ECF No. 199; see also Notice of Constitutional

Question, ECF No. 178. The United States has taken no position on any factual dispute in this

matter nor on any legal question other than the constitutionality and appropriate application of

Section 2. U.S. Br. 1 n.1, ECF No. 205. The United States also takes no position on Plaintiffs’

Motion to Set a Schedule for Remedial Proceedings or Plaintiffs’ Motion for a Special Election.

See Pls. Mot. to Set Schedule, ECF No. 235; Pls. Mot. for Sp. Election, ECF No. 237.

       The United States has met and conferred with all parties, who consent to this request.

Pursuant to Local Rule 7(c), a proposed order is attached hereto.
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Date: February 15, 2024

                                         Respectfully submitted,



RONALD C. GATHE, JR.                     KRISTEN CLARKE
United States Attorney                   Assistant Attorney General
Middle District of Louisiana             Civil Rights Division



/s/ Justin A. Jack                       /s/ Daniel J. Freeman
JUSTIN A. JACK, LBN 36508                TIMOTHY F. MELLETT
Assistant U.S. Attorney                  DANIEL J. FREEMAN
777 Florida Street, Suite 208            Attorneys, Voting Section
Baton Rouge, Louisiana 70801             Civil Rights Division
Phone: (225) 389-0443                    U.S. Department of Justice
Fax: (225) 389-0685                      4 Constitution Square
E-mail: justin.jack@usdoj.gov            150 M Street NE, Room 8.923
                                         Washington, DC 20530
                                         Phone: (800) 253-3931
                                         Fax: (202) 307-3961
                                         Email: daniel.freeman@usdoj.gov




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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 15, 2024, I electronically filed the foregoing with the

clerk of the court using the CM/ECF system, which will send notification of this filing to counsel

of record.

                                                     /s/ Daniel J. Freeman
                                                     DANIEL J. FREEMAN
                                                     Civil Rights Division
                                                     U.S. Department of Justice
